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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                      :
CHARLES E. AUSTIN et al.,                             :         CASE NO. 4:01-cv-0071
                                                      :
                  Plaintiffs,                         :
                                                      :
vs.                                                   :         ORDER AND OPINION
                                                      :         [Resolving Doc. Nos. 655, 681, 696]
REGINALD WILKINSON et al.,                            :
                                                      :
                  Defendants.                         :
                                                      :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:


        Before the Court are three motions: (1) the Defendants’ motion to Terminate the Stipulation

for Injunctive Relief [Doc. 655]; (2) the Plaintiffs’ motion to extend the medical provisions of the

Stipulation for Injunctive Relief until July 7, 2007 [Doc. 681]; and (3) the Defendants’ motion to

terminate the medical provisions of the Stipulation for Injunctive Relief [Doc. 696] . For the reasons

stated below, the Court GRANTS the Defendants’ motion to terminate the Stipulation for Injunctive

Relief, DENIES the Plaintiffs’ motion to extend the medical provisions of the Stipulation for

Injunctive Relief until July 7, 2007, and GRANTS the Defendants’ motion to terminate the medical

provisions of the Stipulation for Injunctive Relief.

                                                I. Background

        The Court has described this case’s underlying facts several times previously. For a

thorough iteration of those facts, the Court directs the reader specifically to the Court’s March 26,

2002 Order approving the Stipulation for Injunctive Relief [Doc. 259] and its March 21, 2006 Order


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and Opinion [Doc. 659]. The Court briefly relates the relevant procedural history below.

       On January 9, 2001, the Plaintiffs filed suit against Defendant Ohio, saying that their

conditions of confinement at the Ohio State Penitentiary (“OSP”) presented an atypical and

significant hardship when compared with the normal incidents of prison life. The Plaintiffs said that

Ohio imposed these conditions without Due Process of Law as guaranteed by the Fourteenth

Amendment. On February 25, 2002, this Court found that the Plaintiffs enjoyed a constitutionally

protected liberty interest in avoiding confinement at OSP [Doc. 227]. On March 26, 2002, this

Court granted the Plaintiffs injunctive relief, which was to continue for two years [Doc. 259]. On

April 5, 2002, the Court approved the parties’ Stipulation for Injunctive Relief [Doc. 265].1

       Ohio appealed the Court’s March 26, 2002 Order to the Sixth Circuit Court of Appeals and

then to the Supreme Court. Both courts held, as this Court did, that the Plaintiffs enjoyed a protected

liberty interest in avoiding confinement at OSP. 545 U.S. 209, 125 S.Ct. 2384, 2395 (2005); 372

F.3d 346, 355 (6th Cir. 2001). The Supreme Court, however, reversed part of this Court’s

procedural order and remanded the case. 545 U.S. 209.

       On November 22, 2005, Judge Beckwith of the Southern District of Ohio issued an order in

Fussell v. Wilkinson that approved the parties’ Stipulation for Injunctive Relief. 2005 WL 3132321

(S.D. Ohio Nov. 22, 2005). In that case, Ohio Department of Rehabilitation and Corrections inmates

with “serious medical and dental needs” petitioned for “unimpeded access” to appropriate health

care, healthy food, and health education. Id. at *1. The court found the jointly proposed settlement


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         The stipulation provides, among other things, that “any inmate who meets the exclusionary criteria
         [for mental illness as described in Department policies] should not be transferred to OSP, and that
         any inmate currently housed at OSP who, after evaluation, is deemed to meet exclusionary criteria
         should be transferred to another institution.” (Apr. 5, 2002 Inj. Rel. ¶ 17.) Notwithstanding this
         Order’s other language, this prohibition on housing inmates with mental illness at OSP shall
         remain in force.

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agreement to be fair, adequate, and reasonable, and approved it without a trial. Id. at *3-*4. The

agreement called for, inter alia, a system-wide monitoring system to ensure compliance with the

terms of the judgment.

        On December 19, 2005, following the Fussell judgment, Ohio filed a motion to terminate

the Stipulation for Injunctive Relief in this case [Doc. 655]. The Plaintiffs filed a brief in opposition

[Doc. 656]. On June 19, 2006, the Plaintiffs filed a motion to extend the medical provisions of the

Stipulation for Injunctive Relief until July 7, 2007 [Doc. 681]. On July 28, 2006 the Defendants

filed another motion to terminate the medical provisions of the Stipulation for Injunctive Relief

[Doc. 696] and an opposition to the Plaintiffs’ motion [Doc. 681] to extend the medical provisions

of the Stipulation for Injunctive Relief [Doc. 697].

        The Court considers the several motions over the continuation or termination of the medical

provisions of the April 5, 2002 stipulation for injunctive relief.

                                         II. Legal Standard

        The Prison Litigation Reform Act (“PLRA”), 18 U.S.C. § 3626 et seq., governs the standard

for continuing or terminating injunctive relief in prison litigation. Id. § 3626(b)(1). The PLRA

provides that prospective relief will generally remain in effect for two years and terminate on the

defendant’s motion at the end of the prescribed period. Id.

        A court may continue the prospective relief if it finds that (1) such relief remains necessary

to correct a current and ongoing violation of a federal right and (2) that the prospective relief is

narrowly drawn and the least intrusive means necessary to correct the violation. Id. § 3626(b)(3).

Because Ohio has moved for termination of the prospective relief, the Court determines whether that

relief “remains necessary to correct a current and ongoing violation of a Federal right.” Id. If such


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a violation is found and the Court determines that prospective relief is necessary to correct it, the

Court must order relief that “is narrowly drawn and the least intrusive means necessary.” Id.

                                            III. Analysis

       In support of its motion, Ohio argues that relief is no longer appropriate because there remain

no current and ongoing violations of OSP inmates’ right to medical care. Ohio further argues that

the Fussell Stipulated Judgment ensures adequate system-wide medical and dental care, thus

rendering this Court’s oversight redundant. (Defs.’ Mot. Term. Stip. Inj. Relief 6.)

       The Plaintiffs oppose the motion and move for a one-year continuation of the prospective

relief. The Plaintiffs disagree with the Defendants’ position, arguing that Ohio is committing

ongoing violations of the prisoners’ federal rights. Specifically, they say that Ohio is violating the

inmates’ Eighth Amendment right to be free from Cruel and Unusual Punishment. The Plaintiffs

concede, however, that the Fussell stipulation will generally provide oversight to monitor and

address potential future issues. (Pls.’ Mem. Opp’n Defs.’ Mot. Terminate Stip. Inj. Relief 1.)

       The Court finds that termination of the stipulated injunctive relief is appropriate at this point.

This is so for two reasons. First, the Plaintiffs have failed to show that any continuing medical care

delivery problems rise to Eighth Amendment violations. Second, the Court believes that the Fussell

stipulation will provide adequate oversight and protection against inadequate future medical care.

The Court articulates the rationale for these findings.

A. Eighth Amendment Violations

       The Plaintiffs say that Ohio continues to violate the Plaintiffs’ federal right to healthcare

primarily by disrupting prisoners’ health care access and treatment. Specifically, the Plaintiffs

allege that prison officials have denied appropriate prisoners referrals to the doctor’s sick call.


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Moreover, they say that prison officials have not adequately addressed the long delays of prisoner-

patients’ waiting to see a doctor. Second, the Plaintiffs contend that prison guards and officials

continue to breach prisoner confidentiality by being present during doctor’s sick call. Additionally,

the Plaintiffs allege that the medical staff interferes with treatment delivery by failing to timely fill

prescriptions and discontinuing certain prescriptions without any medical examination. The

Plaintiffs finally allege that OSP’s lack of a chief medical officer further exacerbates these

shortcomings. (Pls.’ Mem. Opp’n Defs.’ Mot. Terminate Stip. Inj. Relief 2.)

        The Plaintiffs’ allegations, if true, raise some genuine concerns about the inmates’ access

to quality health care, but they do not rise to Eighth Amendment violations. Courts have made it

clear that “[t]he Eighth Amendment is not a basis for broad prison reform.” Hallett v. Morgan, 296

F.3d 732, 745 (9th Cir. 2002) (quoting Hoptowit v. Ray, 682 F.2d 1237, 1246 (9th Cir.1982)). “[The

Eighth Amendment] requires neither that prisons be comfortable nor that they provide every amenity

that one might find desirable. Rather, the Eighth Amendment proscribes only the ‘unnecessary and

wanton infliction of pain.’” Id. (quoting Gregg v. Georgia, 428 U.S. 153, 173 (1976)). Further,

punishment is only Cruel and Unusual where it is “so totally without penological justification that

it results in the gratuitous infliction of suffering.” Id.

        Where, as here, a plaintiff specifically alleges that lack of access to prison medical care

constitutes Cruel and Unusual Punishment, the plaintiff faces a high standard: “Because society

does not expect that prisoners will have unqualified access to health care, deliberate indifference to

medical needs amounts to an Eighth Amendment violation only if those needs are serious.” Harris

v. Kowalski, 2006 WL 1313863, at *6 (W.D. Mich. May 12, 2006) (quoting Hudson v. McMillian,

503 U.S. 1 (1992)).


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        To show a constitutional violation of a prisoner’s right to medical care, a plaintiff must

satisfy both an objective and subjective test. Wilson v. Seiter, 501 U.S. 294, 298-99 (1991). To

fulfill the objective portion, a plaintiff must first show “that the medical need at issue is ‘sufficiently

serious.’” Comstock v. McCrary, 243 F.3d 693, 702 (6th Cir. 2001) (quoting Farmer v. Brennan,

511 U.S. 825, 834 (1994)).

        To satisfy the subjective component, a plaintiff must further show that the defendant

“subjectively perceived facts from which to infer substantial risk to the prisoner, that he did in fact

draw the inference, and that he then disregarded that risk.” Id. at 703. To show deliberate

indifference, a prisoner must show that prison officials “‘den[ied], delay[ed], or intentionally

interfere[d] with medical treatment’” in addressing a prisoner’s serious medical needs Hamilton v.

Endell, 981 F.2d 1062, 1066 (9th Cir.1992) (quoting Hunt v. Dental Dep’t, 865 F.2d 198, 201 (9th

Cir. 1989)). Therefore, prison officials violate a prisoner’s Eighth Amendment right to medical care

only when they “are deliberately indifferent to the prisoner’s serious medical needs” Comstock, 243

F.3d at 702.

        The Plaintiffs have failed to meet this high standard. The Plaintiffs offer evidence that

inmates continue to experience breaches in doctor-patient confidentiality, alterations to their

prescriptions without medical examination, and long delays before seeing the doctor or having

prescriptions filled. (Pls.’ Mem. Opp’n Defs.’ Mot. Terminate Stip. Inj. Relief 2.) Though these

allegations should trouble the prison officials responsible for their care, the allegations do not meet

the objective test standards. The allegations do not clearly show that these prisoners’ medical needs

were sufficiently serious, nor do they demonstrate that Ohio’s failure to address those needs inflicted

pain or caused unnecessary suffering. Moreover, the Plaintiffs have not presented facts showing that


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prison officials acted with deliberate indifference.

       Therefore, the Plaintiffs have not shown an ongoing violation of their Eighth Amendment

rights. Finding no current and ongoing federal rights violation, Ohio’s motion to terminate the

injunctive relief must be granted.

B. The Fussell Stipulation

       The Fussell stipulation provides additional grounds for granting Ohio’s motion. As noted

above, Fussell is a class action lawsuit challenging the medial care delivery in Ohio’s prison

system. Under the terms of the settlement agreement, Ohio must provide prisoners with system-

wide medical and dental services at “a level within the framework of the Eighth Amendment and

consistent with generally accepted medical science and of a quality acceptable within prudent

professional standards.” (Defs.’ Mot. Terminate Stip. Inj. Relief Ex. E 7.) The Fussell stipulation

also creates a multi-disciplinary Medical Oversight Committee responsible for monitoring the prison

system’s administration of medical and dental care and enforcing terms of this stipulation.

       Ohio argues–and the Plaintiffs do not dispute–that this procedure adequately protects inmates

against potential future abuses. The Plaintiffs, however, state that the Fussell Stipulation’s

protections are not currently in effect at OSP. (Pls.’ Mem. Opp’n Defs.’ Mot. Terminate Stip. Inj.

Relief 3.) However, as stated above, the Court finds no current and ongoing violations of the

inmates’ federal rights. Should such violations arise in the future, the Fussell stipulation provides

the inmates with sufficient means to protect their federal rights. Like the stipulation at issue here,

the Fussell stipulation will suffice to deter–and correct, if necessary–any future violations.

                                          IV. Conclusion

       For these reasons the Court does not find that prospective relief “remains necessary to correct


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a current and ongoing violation of the Federal right.” Therefore the Court GRANTS the

Defendants’ motion to terminate the Stipulation for Injunctive Relief. The Court DENIES the

Plaintiffs’ motion to extend the medical provisions of the Stipulation for Injunctive Relief until July

7, 2007. Finally, the Court GRANTS the Defendants’ motion to terminate the medical provisions

of the Stipulation for Injunctive Relief.

       IT IS SO ORDERED.


Dated: August 3, 2006                                  s/       James S. Gwin
                                                       JAMES S. GWIN
                                                       UNITED STATES DISTRICT JUDGE




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